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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

JAMES BRAND, BARRY FARMER,                 )
MARK GRAHAM, KEVIN                         )   No. 12 CV 1122
JACKSON, MICHAEL JACKSON,                  )
JOSE VIGIL, and CHRISTOPHER                )
WOODARD,                                   )
                                           )
                          Plaintiffs,      )
                                           )
               v.                          )   Magistrate Judge Young B. Kim
                                           )
COMCAST CORPORATION and                    )
COMCAST CABLE                              )
COMMUNICATIONS                             )
MANAGEMENT, LLC,                           )
                                           )   June 27, 2016
                          Defendants.      )

                                     ORDER

      UPON CONSIDERATION of the Parties’ Joint Motion for Approval of

Settlement, it is hereby ORDERED that the Motion is GRANTED as follows:

      1.     The Parties’ proposed Settlement is approved, including the releases
      of claims, the payments to Plaintiffs, and payment of attorneys’ fees and costs
      as set forth therein;

      2.    The action is dismissed in its entirety without prejudice, which will
      then become with prejudice once the settlement is funded by Defendants; and

      3.    The court retains jurisdiction until 31 days after the date this Order is
      entered to enforce the terms of the Settlement, including the release of
      claims.

                                               ENTER:


                                               ____________________________________
                                               Young B. Kim
                                               United States Magistrate Judge
